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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

  DONNA DEMATO,

               Plaintiff,
                                                 CASE NO.: 9:19-cv-80147
  v.

  LM GENERAL INSURANCE
  COMPANY,

             Defendant.
  _________________________/

               DEFENDANT’S CORPORATE DISCLOSURE STATEMENT

        Defendant, LM General Insurance Company, files this disclosure statement

  pursuant to Federal Rule of Civil Procedure 7.1.

        1.     Liberty Mutual Holding Company Inc. owns 100% of the stock of LMHC

  Massachusetts Holdings Inc.

        2.     LMHC Massachusetts Holdings Inc. owns 100% of the stock of Liberty

  Mutual Group Inc.

        3.     Liberty Mutual Group Inc. owns 100% of the stock of Liberty Mutual

  Insurance Company.

        4.     Liberty Mutual Insurance Company owns 100% of the stock of LM General

  Insurance Company.
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                                       BUTLER WEIHMULLER KATZ CRAIG LLP




                                       DAVID B. KROUK, ESQ.
                                       Florida Bar No.: 0949840
                                       dkrouk@butler.legal
                                       JAMIE COMBEE NOVAES, ESQ.
                                       Florida Bar No.: 108447
                                       jnovaes@butler.legal
                                       Secondary: llopez@butler.legal
                                                    ehorton@butler.legal
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602
                                       Telephone: (813) 281-1900
                                       Facsimile: (813) 281-0900
                                       Counsel for Defendant

                                CERTIFICATE OF SERVICE

         I hereby certify that on February 4, 2019, I electronically filed the foregoing with
  the Clerk of Court by using the CM/ECF system which will send a copy to the following:

                Matthew A. Goldberger, Esq.
                Matthew A. Goldberger, P.A.
                250 Australian Avenue South, Suite 1400
                West Palm Beach, FL 33401
                matthew@goldbergerfirm.com
                Secondary: service@goldbergerfirm.com
                Co-Counsel for Plaintiff

                Brandon L. Chase, Esq.
                Law Offices of Brandon L. Chase, P.A.
                2800 Ponce de Leon Boulevard, Suite 1100
                Coral Gables, FL 33134
                bchase@cruiselawmiami.com
                Secondary: assistant@cruiselawmiami.com
                Co-Counsel for Plaintiff




                                        JAMIE COMBEE NOVAES, ESQ.
